United States District Court
For the Northern District of California

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

HTC CORPORATION AND HTC AMERICA,
INC.,

Plaintiffs,
Vv.

TECHNOLOGY PROPERTIES LIMITED,
et al.,

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Defendants. )
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Case No.: 5:08-cv-00882-PSG
FINAL VERDICT FORM

Case No.: 5:08-cv-00882-PSG
FINAL VERDICT FORM
(Re: Docket No. 524)

 

 
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For the Northern District of California

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VERDICT FORM
When answering the following questions and filling out this Verdict Form, please follow the directions
provided throughout the form. Your answer to each question must be unanimous. Some of the
questions contain legal terms that are defined and explained in detail in the J ury Instructions. Please
refer to the Jury Instructions if you are unsure about the meaning or usage of any legal term that

appears in the questions below.

We, the jury, unanimously agree to the answers to the following questions and return them under the

instructions of this court as our verdict in this case.

I. U.S. Patent No. 5,809,336 (“the °336 patent”)

A. Infringement
1. Literal Infringement
1, Do you find that TPL has proven by a preponderance of the evidence that HTC has literally

infringed any of the following claims of the °336 patent?

You can only find claims 7 or 9 infringed if you previously found claim 6 infringed. You can only find

claims 14 or 15 infringed if you previously found claim 13 infringed.

 

 

 

 

 

 

 

 

 

 

 

Case No.: 5:08-cv-00882-PSG
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2. Inducement
2, Do you find that TPL has proven by a preponderance of the evidence for each of the claims
below that HTC:
a. intentionally took an action that actually induced direct infringement of the 7336
patent by a third party;
b. was aware of the °336 patent; and
c. knew that the actions, if taken, would cause infringement of the *336 patent?

You can only find claims 7 or 9 infringed if you previously found claim 6 infringed. You can only find

claims 14 or 15 infringed if you previously found claim 13 infringed.

 

 

 

 

 

 

 

 

 

 

 

Case No.: 5:08-cv-00882-PS8G
FINAL VERDICT FORM

 

 
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For the Northern District of California

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I. Damages
If you have found that HTC has not infringed any claim of the '336 patent please skip Question 3. Only

answer Question 3 if you have found that HTC has infringed at least one claim of the ’336 patent.

3. To the extent you have found that at least one claim of the "336 patent is infringed, what has

TPL proven that it is entitled to as a reasonable royalty for infringement:
One-time (lump sum) payment of $ q 5 g SGO _ forthe life of the patent.
I. Willfulness

4, If you have found that HTC has infringed at least one claim of the °336 patent, has TPL proven

that it is highly probable that HTC’s infringement was willful?

 

 

The foreperson must sign and date this verdict form.

oH SO. Date: o a} 3

Foreperson

Case No,: 5:08-cv-00882-PSG
FINAL VERDICT FORM

 

 
